Mary Jo O'Neal - UMPIRE

 

2226 General Raines Drive
Murfreesboro, TN 37129
1-615-849-6400

 

 

Total: SKETCH2 327.74 2,394.18 14,364.75 1,850.61 12,514.14

OSHA - 1 Life Safety

 

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV

182. OSHA Protocol 1.00EA — 177,806.38 0.00 0.00 177,806.38 (0.00) 177,806.38
See Protocol and Manual Provided. Includes sufficient Covid-19 protocols.

 

 

 

Totals: OSHA - 1 Life Safety 0.00 0.00 177,806.38 0.00 177,806.38

General Conditions

 

 

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV
183. Taxes, insurance, permits & fees (Bid 1.00 EA 1,500.00 0.00 300.00 1,800.00 (0.00) 1,800.00
Item)

184. Commercial Supervision / Project 60.00 HR 60.00 0.00 720.00 4,320.00 (0.00) 4,320.00

Management - per hour
6 week project will need supervision 10 hours per week.

185. Cleaning Technician - per hour 80.00 HR 31.09 0.00 497.44 2,984.64 (0.00) 2,984.64
Daily cleaning of job site and final cleaning of site a completion of project.

186. General Laborer - per hour 40.00 HR 32.79 0.00 262.32 1,573.92 (0.00) 1,573.92
Labor for cutting the old panels to fit in dumpsters.

187. Dumpster load - Approx. 40 yards, 7- 6.00 EA 613.46 0.00 736.16 4,416.92 (0.00) 4,416.92
8 tons of debris

188. R&R Sheathing - plywood - 1/2" 256.00 SF 1.69 18.47 90.24 541.35 (0.00) 541.35
CDX

Protect parking lot from damage due to equipment and dumpsters.

 

 

Totals: General Conditions 18.47 2,606.16 15,636.83 0.00 15,636.83

Labor Minimums Applied

 

 

 

 

 

DESCRIPTION QUANTITY UNIT PRICE TAX O&P RCV DEPREC. ACV
189. Finish carpentry labor minimum* 1.00 EA 27.95 0.00 5.60 33.55 (0.00) 33.55
Totals: Labor Minimums Applied 0.00 5.60 33.55 0.00 33.55
Line Item Totals: 20092003-GRAVES 10,106.82 54,439.92 504,443.43 43,142.64 461,300.79

20092003-GRAVES 3/8/2021 Page: 15
